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95 JUL 25 m 3: 30 TENNESSEE EASTERN DIVISION 05

  

 

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§ W;D oil s mEMS>HIS
Plaintiff, )

)
v. )

) No.: 04-Cv-1092 0 M ‘O‘QO
JoHN ALDEN LIFE INSURANCE ) _ ____\ `
coMPANY,FoRTIs INsURANcE ) m son Psi;i~.._=
coMPANY AND EXAMINATION ) Il-.S-- DISTRIC'£ d `““""`"'“
MANAGEMENT sEvacEs, INC. ) "

 
 

Defendaots.

 

MOTION FOR SUBSTITUTION OF COUNSEL
On behalf of the defendant(s) represented by Lewis, King, Krieg & Waldrop, P.C., the
finn on behalf of its client(s) moves for an Order substituting counsel in this case. For cause, the
firm would show that Amber St. John is leaving the firm and this matter Will henceforth be
handled by R. Dale Bay. Therefore the firm requests entry of an Order reflecting the substitution
of Mr. Bay for Ms. St. John and the Withdrawal of Ms. St. John from the case.
Respectfully submitted,

LEWIS, KING, KRIEG & WALDROP, P.C.

By: ,
' Amber`si. John, BPR NQ) 13235
Su.nTrust Bank Building

201 Fourth Avenue North, Suite 1500
P.O. Box 198615

Nashville, TN 37219-8615

Attorneys for Examination Managernent
Services, Inc.

Thls document entered on the docket Sheet ln cory!iance
with Rule 58 and/or 79(a) FRCP on ' l

Case 1'04-CV-01092-.]P|\/|-STA Document 53 Filed 07/26/05 Page 2 of 3 Page|D 83

_QERTIFICATE OF SERVICE

This is to certify that a true and correct copy of the foregoing document has been served
on the following counsel of record by placing postage prepaid envelope in United States Mail
Service, addressed to:

John B. Enkema, Esq.

Jeanette V. Armington, Esq.

Kay, Griffm, Enkema & Brothers
222 Second Avenue, North
Washington Square II, Suite 340-M
Nashville, TN 37201

Charles M. Agee, Jr., Esq.
The Agee Law Firm

P.O. Box 280

Dyersburg, TN 38025-0280

This the B day ofg(/. 1 OL,{ , 2005.

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 53 in
case 1:04-CV-01092 Was distributed by faX, mail, or direct printing on
July 26, 2005 to the parties listed.

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Amber St. John

LEWIS KING KRIEG & WALDROP, PC
201 4th Avenue North

Ste. 1500

Nashville, TN 37219

John B. Enkema

KAY GRIFFIN ENKEMA & BROTHERS
222 Second Ave. N

Ste. 340-1\/1

Nashville, TN 37201

R. Dale Bay

LEWIS KING KRIEG & WALDROP, PC
201 4th Avenue North

Ste. 1500

Nashville, TN 37219

Jeanette V. Armington

KAY GRIFFIN ENKEMA & BROTHERS
222 Second Ave. N

Ste. 340-1\/1

Nashville, TN 37201

Charles M. Agee

AGEE LAW FIRM

115 Mills Avenue

P.O. Box 280

Dyersburg, TN 38025--028

Honorable .l on l\/lcCalla
US DISTRICT COURT

